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                                                                                                   ICSID/3

 LIST OF CONTRACTING STATES AND OTHER SIGNATORIES OF THE CONVENTION
                         (as of February 21, 2019)

        The 162 States listed below have signed the Convention on the Settlement of Investment
Disputes between States and Nationals of Other States on the dates indicated. The names of the 154
States that have deposited their instruments of ratification are in bold, and the dates of such deposit and
of the attainment of the status of Contracting State by the entry into force of the Convention for each of
them are also indicated.

                                                                Deposit of             Entry into Force
State                                    Signature              Ratification           of Convention
Afghanistan                              Sep. 30, 1966          June 25, 1968          July 25, 1968
Albania                                  Oct. 15, 1991          Oct. 15, 1991          Nov. 14, 1991
Algeria                                  Apr. 17, 1995          Feb. 21, 1996          Mar. 22, 1996
Argentina                                May 21, 1991           Oct. 19, 1994          Nov. 18, 1994
Armenia                                  Sep. 16, 1992          Sep. 16, 1992          Oct. 16, 1992
Australia                                Mar. 24, 1975          May 2, 1991            June 1, 1991
Austria                                  May 17, 1966           May 25, 1971           June 24, 1971
Azerbaijan                               Sep. 18, 1992          Sep. 18, 1992          Oct. 18, 1992
Bahamas, The                             Oct. 19, 1995          Oct. 19, 1995          Nov. 18, 1995
Bahrain                                  Sep. 22, 1995          Feb. 14, 1996          Mar. 15, 1996
Bangladesh                               Nov. 20, 1979          Mar. 27, 1980          Apr. 26, 1980
Barbados                                 May 13, 1981           Nov. 1, 1983           Dec. 1, 1983
Belarus                                  July 10, 1992          July 10, 1992          Aug. 9, 1992
Belgium                                  Dec. 15, 1965          Aug. 27, 1970          Sep. 26, 1970
Belize                                   Dec. 19, 1986
Benin                                    Sep. 10, 1965          Sep. 6, 1966           Oct. 14, 1966
Bosnia and Herzegovina                   Apr. 25, 1997          May 14, 1997           June 13, 1997
Botswana                                 Jan. 15, 1970          Jan. 15, 1970          Feb. 14, 1970
Brunei Darussalam                        Sep. 16, 2002          Sep. 16, 2002          Oct. 16, 2002
Bulgaria                                 Mar. 21, 2000          Apr. 13, 2001          May 13, 2001
Burkina Faso                             Sep. 16, 1965          Aug. 29, 1966          Oct. 14, 1966
Burundi                                  Feb. 17, 1967          Nov. 5, 1969           Dec. 5, 1969
Cabo Verde                               Dec. 20, 2010          Dec. 27, 2010          Jan. 26, 2011
Cambodia                                 Nov. 5, 1993           Dec. 20, 2004          Jan. 19, 2005
Cameroon                                 Sep. 23, 1965          Jan. 3, 1967           Feb. 2, 1967
Canada                                   Dec. 15, 2006          Nov. 1, 2013           Dec. 1, 2013
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                                                   Deposit of          Entry into Force
State                             Signature        Ratification        of Convention
Central African Republic          Aug. 26, 1965    Feb. 23, 1966       Oct. 14, 1966
Chad                              May 12, 1966     Aug. 29, 1966       Oct. 14, 1966
Chile                             Jan. 25, 1991    Sep. 24, 1991       Oct. 24, 1991
China                             Feb. 9, 1990     Jan. 7, 1993        Feb. 6, 1993
Colombia                          May 18, 1993     July 15, 1997       Aug. 14, 1997
Comoros                           Sep. 26, 1978    Nov. 7, 1978        Dec. 7, 1978
Congo, Democratic Rep. of         Oct. 29, 1968    Apr. 29, 1970       May 29, 1970
Congo, Rep. of                    Dec. 27, 1965    June 23, 1966       Oct. 14, 1966
Costa Rica                        Sep. 29, 1981    Apr. 27, 1993       May 27, 1993
Côte d’Ivoire                     June 30, 1965    Feb. 16, 1966       Oct. 14, 1966
Croatia                           June 16, 1997    Sep. 22, 1998       Oct. 22, 1998
Cyprus                            Mar. 9, 1966     Nov. 25, 1966       Dec. 25, 1966
Czech Republic                    Mar. 23, 1993    Mar. 23, 1993       Apr. 22, 1993
Denmark                           Oct. 11, 1965    Apr. 24, 1968       May 24, 1968
Dominican Republic                Mar. 20, 2000
Egypt, Arab Rep. of               Feb. 11, 1972    May 3, 1972         June 2, 1972
El Salvador                       June 9, 1982     Mar. 6, 1984        Apr. 5, 1984
Estonia                           June 23, 1992    June 23, 1992       July 23, 1992
Eswatini                          Nov. 3, 1970     June 14, 1971       July 14, 1971
Ethiopia                          Sep. 21, 1965
Fiji                              July 1, 1977     Aug. 11, 1977       Sep. 10, 1977
Finland                           July 14, 1967    Jan. 9, 1969        Feb. 8, 1969
France                            Dec. 22, 1965    Aug. 21, 1967       Sep. 20, 1967
Gabon                             Sep. 21, 1965    Apr. 4, 1966        Oct. 14, 1966
Gambia, The                       Oct. 1, 1974     Dec. 27, 1974       Jan. 26, 1975
Georgia                           Aug. 7, 1992     Aug. 7, 1992        Sep. 6, 1992
Germany                           Jan. 27, 1966    Apr. 18, 1969       May 18, 1969
Ghana                             Nov. 26, 1965    July 13, 1966       Oct. 14, 1966
Greece                            Mar. 16, 1966    Apr. 21, 1969       May 21, 1969
Grenada                           May 24, 1991     May 24, 1991        June 23, 1991
Guatemala                         Nov. 9, 1995     Jan. 21, 2003       Feb. 20, 2003
Guinea                            Aug. 27, 1968    Nov. 4, 1968        Dec. 4, 1968
Guinea-Bissau                     Sep. 4, 1991
Guyana                            July 3, 1969     July 11, 1969       Aug. 10, 1969
Haiti                             Jan. 30, 1985    Oct. 27, 2009       Nov. 26, 2009
Honduras                          May 28, 1986     Feb. 14, 1989       Mar. 16, 1989
Hungary                           Oct. 1, 1986     Feb. 4, 1987        Mar. 6, 1987
Iceland                           July 25, 1966    July 25, 1966       Oct. 14, 1966
Indonesia                         Feb. 16, 1968    Sep. 28, 1968       Oct. 28, 1968
Iraq                              Nov. 17, 2015    Nov. 17, 2015       Dec. 17, 2015
Ireland                           Aug. 30, 1966    Apr. 7, 1981        May 7, 1981
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                                                    Deposit of          Entry into Force
State                              Signature        Ratification        of Convention
Israel                             June 16, 1980    June 22, 1983       July 22, 1983
Italy                              Nov. 18, 1965    Mar. 29, 1971       Apr. 28, 1971
Jamaica                            June 23, 1965    Sep. 9, 1966        Oct. 14, 1966
Japan                              Sep. 23, 1965    Aug. 17, 1967       Sep. 16, 1967
Jordan                             July 14, 1972    Oct. 30, 1972       Nov. 29, 1972
Kazakhstan                         July 23, 1992    Sep. 21, 2000       Oct. 21, 2000
Kenya                              May 24, 1966     Jan. 3, 1967        Feb. 2, 1967
Korea, Rep. of                     Apr. 18, 1966    Feb. 21, 1967       Mar. 23, 1967
Kosovo, Rep. of                    June 29, 2009    June 29, 2009       July 29, 2009
Kuwait                             Feb. 9, 1978     Feb. 2, 1979        Mar. 4, 1979
Kyrgyz Republic                    June 9, 1995
Latvia                             Aug. 8, 1997     Aug. 8, 1997        Sep. 7, 1997
Lebanon                            Mar. 26, 2003    Mar. 26, 2003       Apr. 25, 2003
Lesotho                            Sep. 19, 1968    July 8, 1969        Aug. 7, 1969
Liberia                            Sep. 3, 1965     June 16, 1970       July 16, 1970
Lithuania                          July 6, 1992     July 6, 1992        Aug. 5, 1992
Luxembourg                         Sep. 28, 1965    July 30, 1970       Aug. 29, 1970
Madagascar                         June 1, 1966     Sep. 6, 1966        Oct. 14, 1966
Malawi                             June 9, 1966     Aug. 23, 1966       Oct. 14, 1966
Malaysia                           Oct. 22, 1965    Aug. 8, 1966        Oct. 14, 1966
Mali                               Apr. 9, 1976     Jan. 3, 1978        Feb. 2, 1978
Malta                              Apr. 24, 2002    Nov. 3, 2003        Dec. 3, 2003
Mauritania                         July 30, 1965    Jan. 11, 1966       Oct. 14, 1966
Mauritius                          June 2, 1969     June 2, 1969        July 2, 1969
Mexico                             Jan. 11, 2018    July 27, 2018       Aug. 26, 2018
Micronesia, Federated States of    June 24, 1993    June 24, 1993       July 24, 1993
Moldova                            Aug. 12, 1992    May 5, 2011         June 4, 2011
Mongolia                           June 14, 1991    June 14, 1991       July 14, 1991
Montenegro                         July 19, 2012    April 10, 2013      May 10, 2013
Morocco                            Oct. 11, 1965    May 11, 1967        June 10, 1967
Mozambique                         Apr. 4, 1995     June 7, 1995        July 7, 1995
Namibia                            Oct. 26, 1998
Nauru                              April 12, 2016   April 12, 2016      May 12, 2016
Nepal                              Sep. 28, 1965    Jan. 7, 1969        Feb. 6, 1969
Netherlands                        May 25, 1966     Sep. 14, 1966       Oct. 14, 1966
New Zealand                        Sep. 2, 1970     Apr. 2, 1980        May 2, 1980
Nicaragua                          Feb. 4, 1994     Mar. 20, 1995       Apr. 19, 1995
Niger                              Aug. 23, 1965    Nov. 14, 1966       Dec. 14, 1966
Nigeria                            July 13, 1965    Aug. 23, 1965       Oct. 14, 1966
North Macedonia                    Sep. 16, 1998    Oct. 27, 1998       Nov. 26, 1998
Norway                             June 24, 1966    Aug. 16, 1967       Sep. 15, 1967
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                                                   Deposit of          Entry into Force
State                             Signature        Ratification        of Convention
Oman                              May 5, 1995      July 24, 1995       Aug. 23, 1995
Pakistan                          July 6, 1965     Sep. 15, 1966       Oct. 15, 1966
Panama                            Nov. 22, 1995    Apr. 8, 1996        May 8, 1996
Papua New Guinea                  Oct. 20, 1978    Oct. 20, 1978       Nov. 19, 1978
Paraguay                          July 27, 1981    Jan. 7, 1983        Feb. 6, 1983
Peru                              Sep. 4, 1991     Aug. 9, 1993        Sep. 8, 1993
Philippines                       Sep. 26, 1978    Nov. 17, 1978       Dec. 17, 1978
Portugal                          Aug. 4, 1983     July 2, 1984        Aug. 1, 1984
Qatar                             Sep. 30, 2010    Dec. 21, 2010       Jan. 20, 2011
Romania                           Sep. 6, 1974     Sep. 12, 1975       Oct. 12, 1975
Russian Federation                June 16, 1992
Rwanda                            Apr. 21, 1978    Oct. 15, 1979       Nov. 14, 1979
Samoa                             Feb. 3, 1978     Apr. 25, 1978       May 25, 1978
San Marino                        Apr. 11, 2014    Apr. 18, 2015       May 18, 2015
Sao Tome and Principe             Oct. 1, 1999     May 20, 2013        June 19, 2013
Saudi Arabia                      Sep. 28, 1979    May 8, 1980         June 7, 1980
Senegal                           Sep. 26, 1966    Apr. 21, 1967       May 21, 1967
Serbia                            May 9, 2007      May 9, 2007         June 8, 2007
Seychelles                        Feb. 16, 1978    Mar. 20, 1978       Apr. 19, 1978
Sierra Leone                      Sep. 27, 1965    Aug. 2, 1966        Oct. 14, 1966
Singapore                         Feb. 2, 1968     Oct. 14, 1968       Nov. 13, 1968
Slovak Republic                   Sep. 27, 1993    May 27, 1994        June 26, 1994
Slovenia                          Mar. 7, 1994     Mar. 7, 1994        Apr. 6, 1994
Solomon Islands                   Nov. 12, 1979    Sep. 8, 1981        Oct. 8, 1981
Somalia                           Sep. 27, 1965    Feb. 29, 1968       Mar. 30, 1968
South Sudan                       Apr. 18, 2012    Apr. 18, 2012       May 18, 2012
Spain                             Mar. 21, 1994    Aug. 18, 1994       Sept. 17, 1994
Sri Lanka                         Aug. 30, 1967    Oct. 12, 1967       Nov. 11, 1967
St. Kitts & Nevis                 Oct. 14, 1994    Aug. 4, 1995        Sep. 3, 1995
St. Lucia                         June 4, 1984     June 4, 1984        July 4, 1984
St. Vincent and the Grenadines    Aug. 7, 2001     Dec. 16, 2002       Jan. 15, 2003
Sudan                             Mar. 15, 1967    Apr. 9, 1973        May 9, 1973
Sweden                            Sep. 25, 1965    Dec. 29, 1966       Jan. 28, 1967
Switzerland                       Sep. 22, 1967    May 15, 1968        June 14, 1968
Syria                             May 25, 2005     Jan. 25, 2006       Feb. 24, 2006
Tanzania                          Jan. 10, 1992    May 18, 1992        June 17, 1992
Thailand                          Dec. 6, 1985
Timor-Leste                       July 23, 2002    July 23, 2002       Aug. 22, 2002
Togo                              Jan. 24, 1966    Aug. 11, 1967       Sep. 10, 1967
Tonga                             May 1, 1989      Mar. 21, 1990       Apr. 20, 1990
Trinidad and Tobago               Oct. 5, 1966     Jan. 3, 1967        Feb. 2, 1967
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                                                                                    Deposit of                   Entry into Force
  State                                                Signature                    Ratification                 of Convention
  Tunisia                                              May 5, 1965                  June 22, 1966                Oct. 14, 1966
  Turkey                                               June 24, 1987                Mar. 3, 1989                 Apr. 2, 1989
  Turkmenistan                                         Sep. 26, 1992                Sep. 26, 1992                Oct. 26, 1992
  Uganda                                               June 7, 1966                 June 7, 1966                 Oct. 14, 1966
  Ukraine                                              Apr. 3, 1998                 June 7, 2000                 July 7, 2000
  United Arab Emirates                                 Dec. 23, 1981                Dec. 23, 1981                Jan. 22, 1982
  United Kingdom of Great Britain                      May 26, 1965                 Dec. 19, 1966                Jan. 18, 1967
   and Northern Ireland
  United States of America                             Aug. 27, 1965                June 10, 1966                Oct. 14, 1966
  Uruguay                                              May 28, 1992                 Aug. 9, 2000                 Sep. 8, 2000
  Uzbekistan                                           Mar. 17, 1994                July 26, 1995                Aug. 25, 1995
  Yemen, Republic of                                   Oct. 28, 1997                Oct. 21, 2004                Nov. 20, 2004
  Zambia                                               June 17, 1970                June 17, 1970                July 17, 1970
  Zimbabwe                                             Mar. 25, 1991                May 20, 1994                 June 19, 1994


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Note: The Government of the Republic of Bolivia signed the ICSID Convention on May 3, 1991 and deposited its instrument of ratification
on June 23, 1995. The Convention entered into force for Bolivia on July 23, 1995. On May 2, 2007, the depositary received a written notice
of Bolivia’s denunciation of the Convention. In accordance with Article 71 of the Convention, the denunciation took effect six months after
the receipt of Bolivia’s notice, i.e., on November 3, 2007.
The Government of the Republic of Ecuador signed the ICSID Convention on January 15, 1986 and deposited its instrument of ratification
on the same date. The Convention entered into force for Ecuador on February 14, 1986. On July 6, 2009, the depositary received a written
notice of Ecuador’s denunciation of the Convention. In accordance with Article 71 of the Convention, the denunciation took effect six
months after the receipt of Ecuador’s notice, i.e., on January 7, 2010.
The Government of the República Bolivariana de Venezuela signed the ICSID Convention on August 18, 1993 and deposited its instrument
of ratification on May 2, 1995. The Convention entered into force for the República Bolivariana de Venezuela on June 1, 1995. On January
24, 2012, the depositary received a written notice of República Bolivariana de Venezuela’s denunciation of the Convention. In accordance
with Article 71 of the Convention, the denunciation took effect six months after the receipt of the notice, i.e., on July 25, 2012.
